
Littleton, Judge,
delivered tbe opinion of the court:
Plaintiff sues to recover $63,185.97 representing extra labor costs incurred in the performance of a lump-sum construction contract entered into with defendant through the Federal Public Housing Authority on June 23, 1944, for the construction of war housing facilities in Baltimore, Maryland. The increased costs resulted from payment by plaintiff to several crafts working on the project of higher wage rates than the rates contained in the contract specifications.
The Invitation for Bids called the bidder’s attention to the fact that the wage rates specified in the contract documents were the maximum as well as the minimum wage rates which might be paid on the project. Paragraph 6 of the specifications contained a schedule of wage rates for the various laborers and mechanics to be employed on the project as determined by the Secretary of Labor to be prevailing for that area, in accordance with the provisions of the Davis-Bacon Act.1 Subsection (d) of paragraph 6 provided that such rates were, by virtue of Executive Order 9250, the maximum as well as the minimum rates; that such rates were subject, however, to adjustment in accordance with the provisions of the Wage Stabilization Agreement of May 22, 1942 (to which the contracting agency was a party), Administrative Order No. 101 of the Secretary of Labor, and Supplement 1 thereto, and in accordance with all the rules and regulations of the National War Labor Board, particularly General Order 13A. The subsection also provided that while requests for wage adjustment might be made by either the union or the contractor, any increase granted as a result of such requests would not give rise to any claim on the part of the contractor for extra compensation from the Government, the contractor being required to pay whatever rate *371was permitted by law where the payment of such rate was necessary to complete the job expeditiously.
Bids were advertised for in April 1944, and were opened on June 6,1944; whereupon it was found that plaintiff was the low bidder. Between June 6 and 23, representatives of defendant and plaintiff negotiated concerning various items in plaintiff’s bid and on June 23, 1944, the contract was awarded to plaintiff at a total price of $3,088,339.
Paragraph 3 of the Instructions to Bidders provided that each bidder should visit the site of the project and fully acquaint himself with conditions relating to construction and labor; that failure to do so would not relieve the bidder from any obligation with respect to his bid or to the contract, and that the submission of a bid would be taken by the Government as prima facie evidence that the bidder had complied with this section.
Work on the project commenced in July 1944. Shortly thereafter, plaintiff discovered that on and after August 1, 1944, it would have to pay carpenters 6*4 cents per hour more than the wage rate specified in the contract specifications, and that on and after October 1, 1944, it would have to pay lathers and plasterers 22% cents per hour more than the contract specifications called for.
All three wage increases were the result of decisions of the Wage Adjustment Board for the Building and Construction Industry, U. S. Department of Labor. In the cases involving the plasterers and lathers, the requests for wage adjustment were made jointly by the Baltimore local craft unions and the Employing Plasterers Association of Baltimore. The applications to the Wage Adjustment Board for wage adjustments requested increases for plasterers and lathers from the rate of $1.50 per hour to $1.75 per hour, which latter rate was the rate contained in recent collective bargaining agreements entered into by the parties mentioned above. Both applications requested that the increase authorized by the Board be made effective October 1, 1944, in accordance with the terms of the bargaining agreements.
On May 25, 1944, the Wage Adjustment Board issued a decision authorizing an increase to $1.72% effective October 1,1944, for plasterers on all construction work in the Balti*372more area. On August 16,1944, the Board issued a decision authorizing the same rate and under the same conditions for lathers.
The application for an increased rate for carpenters was apparently made by the carpenters’ union alone, and the record indicates that the Baltimore building contractors must have had serious objections to the granting of this increase since the United States Conciliation Service was, at least unofficially, called into the case in April 1944, by the Executive Secretary of the Wage Adjustment Board. Apparently conciliation efforts were successful, and the union and the Baltimore Chapter of the Associated General Contractors entered into a collective bargaining agreement on June 2, 1944, providing that the employers would pay the carpenters $1.43% per hour effective August 1, 1944. Accordingly, on June 21, 1944, the Wage Adjustment Board issued its decision authorizing an increase in the rate for carpenters on all construction in the Baltimore area from $1.37% to $1.43% per hour, effective August 1, 1944.
When plaintiff became informed with reference to the increased wage rate for carpenters authorized by the Board for all work in the Baltimore area, it supposed that its contract, which, as stated, set forth minimum and maximum wage rates, precluded it from paying the increased rate approved by the Wage Adjustment Board and it asked the contracting agency for instructions. Plaintiff also advised the contracting officer that if it did have to pay the increased rates, it desired to make claim on the Government for additional compensation on account of such increases.
On September 6,1944, defendant’s construction supervisor wrote to plaintiff advising that under the terms of paragraph 6 (d) (2) of the contract specifications, as amended, no claims for extra compensation could be based upon increased wages granted at the request of the contractor or the union. As to whether plaintiff could lawfully pay the increased rate, the letter contained the following statement:
* * * the interim of [sic] decision [of the Wage Adjustment Board] has the force of law and it is the contractor’s authority for posting the changed wage rate.
*373Plaintiff concedes that it could not have obtained the skilled laborers necessary to carry on the job without paying the increased rates authorized by the Wage Adjustment Board for carpenters, plasterers, and lathers, and also for numerous other trades which later obtained wage increases from the Board. Plaintiff’s requests for reimbursement for such increases were all denied by the contracting agency.
Plaintiff contends that it is entitled to be reimbursed for the increased costs resulting from the wage increases authorized by the Wage Adjustment Board for several reasons. First, plaintiff urges that the letter of September 6, 1944, from defendant’s construction supervisor, amounted to a “directive order” from an authorized agent of defendant to plaintiff that the increases would have to be paid. Plaintiff concludes that it is accordingly entitled to recover the extra costs occasioned by its compliance with this directive order, on the authority of this court’s decisions in A. J. Paretta Contracting Co. v. United States, 109 C. Cls. 324, Sunswick Corp. v. United States, 109 C. Cls. 772, cert. den. 334 U. S. 827, and Poirier &amp; McLane Corporation v. United States, 128 C. Cls. 117, 120 F. Supp. 209.
The Poirier case is not apposite inasmuch as it did not involve a directive order either on the part of the Wage Adjustment Board or the contracting agency, but rather a retroactive change by the Secretary of Labor in his earlier decision as to wage rates. The Sunswich case did involve a directive order issued by the Wage Adjustment Board in a wage dispute. In the instant case no such directive order was issued to plaintiff by the Board in connection with any of the increases in question. In the Paretta case defendant’s contracting officer issued an order to the contractor to pay an increased rate. In the instant case we do not think an order such as would create a liability on the defendant for the increased wages was issued to plaintiff. The letter of September 6, 1944, supra, on which plaintiff relies, was in ■response to plaintiff’s inquiry regarding the problem of whether or not it could lawfully pay the increased rate authorized by the Board for carpenters in the Baltimore area, *374in view of the fact that its contract provided that the only rates that could be paid by plaintiff on this job were the rates set forth in the contract specifications. By its terms, the letter did not order plaintiff to pay the increased rate but merely advised plaintiff that the interim decision of the Wage Adjustment Board made it lawful for plaintiff to pay such rate and was plaintiff’s authority for posting the changed rate on the job. Although the testimony as to what the writer of that letter meant to convey to plaintiff is somewhat unsatisfactory, we have found that he intended to advise plaintiff in substance, that since the Wage Adjustment Board had authorized the wage increase, plaintiff could lawfully pay it.
Inasmuch as plaintiff was not ordered by defendant to pay the increased rates and it paid them voluntarily in order to secure labor necessary to man the project, neither the Suns-wich nor the Paretta cases supports plaintiff’s claim.
Plaintiff next contends that because defendant’s officers knew, prior to the date of the contract award on June 23, 1944, that the Wage Adjustment Board had granted increases effective at later dates to carpenters and plasterers, and also knew that a request for a wage increase was pending for lathers, defendant was under a duty to advise plaintiff of these facts during the contract negotiations, and that its failure to do so amounted to a misrepresentation of material facts. Plaintiff further says, that if defendant did not know of the Wage Adjustment Board decision of May 25, 1944, for plasterers, and the June 21,1944, decision for carpenters, then there was a mutual mistake of fact and the contract signed on June 23,1944, did not reflect the true intent of the parties to the transaction and should be reformed by the court.
We think that neither of the above contentions is sound. Defendant undoubtedly knew that the three crafts had requested wage adjustments. Defendant was also probably notified when the Wage Adjustment Board entered decisions granting the increases. As stated in finding 11, the regular mailing list of the Wage Adjustment Board to whom notices of the Board’s proceedings were sent, must have included the various government agencies engaged in contracting for building construction. However, at the time of the contract *375negotiations between June 6 and June 23, and when the contract was signed on June 23, the wage rates included in the contract specifications were in fact the rates prevailing and being paid in the Baltimore area and those specifications could not have been changed at that time since the increases granted by the Board were not to go into effect until some time after the contract was signed.
Although it might have been considerate of defendant’s representatives to have advised plaintiff that the Wage Adjustment Board had granted prospective increases to plasterers (October 1, 1944) and carpenters (August 1, 1944), and that a wage increase was under Board consideration for lathers, we do not think that defendant was under any obligation to do so. On the other hand, we think that defendant would have been justified in assuming, as it probably did, that plaintiff, prior to bidding on the job, would have discovered these facts in the course of its investigation of labor conditions in the Baltimore area. The application for the carpenters’ wage increase appears to have been filed with the Board prior to the date defendant advertised for bids. The application for the plasterers’ increase was signed by the local union and by the employers’ association in Baltimore on March 29,1944, and by the plasterers’ International Union, and by the Building and Construction Trades Department, American Federation of Labor, in Washington on April 6 and 7, respectively. It was received by the Board on April 8. The lathers’ application was signed by the union and by the employers’ association on May 11, and received by the Board on May 26.
The bids were not opened until June 6. Plaintiff admits that it did not inquire of any union officials either in Baltimore or in Washington concerning the wage situation in the Baltimore area. Plaintiff was not a Baltimore firm and did not belong to any of the employers’ associations in that city. It did not make inquiry of those organizations concerning the wage situation. Plaintiff’s principal office was in Washington, D. C., and yet plaintiff did not make inquiry at the offices of the Building and Construction Trades Department of the American Federation of Labor in Washington, nor at the office of the Associated General Contractors. The *376Wage Adjustment Board for the Building and Construction Industry was located in the Department of Labor in Washington and had been in operation for nearly two years at the time this contract was advertised. Plaintiff did not inquire at that office. The international unions of the various building trades had offices in Washington, and officials of those unions usually sign applications for wage increases made by local members. Plaintiff did not inquire at the offices of any of the international unions. In view of the contract provisions with reference to the non-liability of the Government for wage increases such as are here involved, it would seem that plaintiff was not diligent in its investigation concerning the matter of wage rates for labor in the Baltimore area.
Plaintiff employed only union labor on this project, the contract price of which was in excess of $3,000,000. It appears to us that plaintiff’s investigation of labor conditions in the Baltimore area prior to making its bid was inadequate. A superficial check of the most obvious sources of information would have revealed that carpenters, plasterers and lathers were requesting wage increases; that neither the lathers nor plasterers had received any of the increase they might be entitled to under the so-called Little Steel Formula, and that the carpenters had received only part of that increase. With that knowledge, plaintiff would have been justified in making an allowance in its bid to cover the additional cost which would be incurred when the requested increases went into effect, since the circumstances surrounding the applications indicated that the requests would be granted almost in full. In our opinion plaintiff’s failure to include in its bid an amount sufficient to protect it against these increases was the direct result of its failure to comply with paragraph 3 of the Instructions to Bidders. Plaintiff is in no position to complain that the Government did not advise it of facts which plaintiff was at least, under an obligation to attempt to determine for itself, and which it could in fact have discovered with the minimum of effort.
We cannot agree with defendant that the Federal Public Housing Authority had no knowledge of the pending applications for wage adjustments or of the interim decisions of *377the Wage Adjustment Board when they issued. However, we do not think that this knowledge on the part of the contracting agency relieved plaintiff of its obligation to make a proper investigation of labor conditions and we think that if plaintiff had made such an investigation it would have been fully informed concerning the applications for carpenters, plasterers and lathers. Under the terms of the contract and the facts and circumstances of the case, defendant’s representatives would have been justified in assuming the plaintiff had made such an investigation and was aware of the existence of such applications when the contraot was negotiated.
After work on the contract began and throughout the course of the contract performance, the Wage Adjustment Board issued decisions authorizing increases for a number of the crafts employed by plaintiff or its subcontractors on the project in Baltimore. Some of the decisions were permissive only, while others took the form of directive orders. The directive orders, however, were directed to the Baltimore Chapter of the Associated General Contractors and since plaintiff was not a member of that organization, it was not compelled to obey such orders.
Plaintiff’s contract specifically called attention to the fact that the wage rates specified therein were subject to adjustment under the General Orders of the National War Labor Board. The contract also provided that the contractor would be required to pay whatever rates were 'permitted by law and required to be paid in order that the job be completed expeditiously. The increased rates of which plaintiff complains were permitted by law, as defendant’s construction supervisor advised plaintiff on September 6,1944, and were required to be paid in order to complete the job expeditiously.
Under the terms of the contract and the facts and circumstances in this case, we are of the opinion that plaintiff is not entitled to recover and the petition is therefore dismissed.
It is so ordered.
Laramoke, Judge; Madden, Judge; Whitaker, Judge; and Jones, GMef Judge, concur.
*378FINDINGS OF FACT
. The court having considered the evidence, the briefs and argument of counsel, and the report of Commissioner George H. Foster, makes the following findings of fact:
1. The plaintiff, Boss Engineering Company, is a corporation organized and existing under the laws of the State of Delaware and having its principal place of business in Washington, D. C.
2. Plaintiff was the successful bidder on a construction project at Baltimore, Maryland, known as the Cherry Hill Homes, War Housing Project MD 2-11, consisting mainly of 600 dwelling units, contracted for by the Federal Public Housing Authority, in conjunction with the Housing Authority of Baltimore City, on a lump sum basis.
3. Bids for the project were advertised for in April 1944. Bids were opened June 6, 1944. The contract, following negotiations which resulted in, among other things, a decrease in the bid prices, was awarded to the plaintiff on June 23, 1944. The contract price was $3,088,339. Work began July 5, 1944, and the contract completion date for general construction was fixed as of March 1, 1945. However, completion was not accomplished until September 11, 1946. A change order extended the time for completion and no liquidated damages were assessed. Boss Engineering-Company encountered financial difficulties before the work was completed and it became necessary on April 5,1945, for the bonding company to assume responsibility for the completion of the project.
4. Paragraph 8 of the Invitation for Bids provided as f ollows :
Attention is directed to the fact that the wage rates specified in the Contract Documents are the maximum as well the the minimum wage rates which may be paid on this project.
Paragraph 3 of Instructions to Bidders provided in part as follows:
Each bidder shall visit the site of the proposed work and fully acquaint himself with conditions relating to construction and labor so that he may fully understand *379the facilities, difficulties and restrictions attending the execution of the work under the contract. * * * The failure or omission of any bidder to * * * visit the site and acquaint himself with conditions there existing shall in nowise relieve any bidder from any obligation with respect to his bid or to the Contract. The submission of a bid shall be taken as prima facie evidence of compliance with this section.
The contract’s specifications, paragraph 6 of the Special Conditions of the Specifications of the contract as amended by addendum No. 1, provided as follows:

Bate of Wages

a. There shall be paid each mechanic or laborer of the Contractor or any subcontractor engaged in work on the Project under the Contract in the trade or occupation listed below the hourly wage rate set opposite the same, regardless of any contractual relationship which may be alleged to exist between the Contractor or any subcontractor and such laborers and mechanics.



* ❖ * * *
c. The determinations of the Secretary of Labor shall be deemed to establish the wages which may be paid to the designated laborers and mechanics less any and all deductions from pay rolls which may be required by any laws now or hereafter in force, in any state where a project for which determination is made, is situated, calling for contributions by employees from earnings to funds maintained in the administration of an unemployment compensation law approved by the Social Security Board under Titles VIII and IX of the Social Security Act (Act of August 14, 1935, Public No. 271, 74th Congress, C. 531, Title 1, Sec. 1, 49 Stat. 620, 42 U. S. C. A., Secs. 301-1305).
*380d. The wage rates specified herein in accordance with Public Act No. 403, 74th Congress, approved August 30, 1935, as amended by Public Act 633, 76th Congress, approved June 15, 1940, are, by virtue of Executive Order 9250, maximum as well as minimum rates, subject to adjustment, however, in accordance with the provisions of the Wage Stabilization Agreement of May 22, 1942, Administrative Order No. 101 of the Secretary of Labor and also Supplement 1 of Administrative Order No. 101, and in accordance with all the rules and regulations ox the National War Labor Board, particularly General Order 13A—
(1) The wage rates herein set out in these Special Conditions are maximum as well as minimum and, subject to the limitations stated above, are the only wage rates which may legally be paid under the contract.
(2) Wage adjustments may be initiated by the Contractor or by a labor union involved. No increase in the wages requested by the contractor or the union shall give rise to any claim for extra compensation by the contractor, who is hereby required to pay whatever rate, permitted by law and required by the above-mentioned Agreement, it is necessary to pay in order to complete the job expeditiously.
5. On May 22,1942, the Building and Construction Trades Department of the American Federation of Labor and the Government agencies in charge of building and construction work essential to the successful prosecution of the war, entered into an agreement providing that:
* * * on all war construction work done for or financed by the United States (except non-Federal construction where State laws govern wage rates) in the continental United States, the wage rates paid under collective bargaining agreements as of July 1,1942, shall remain in full force and effect for a period of at least one year after that date and, subject to annual renewal of this agreement for the duration of the war. Except as hereafter provided, all renewals of collective bargaining agreements will contain the rates paid as of July 1, 1942.
The agreement further stated that the wage rates in effect on July 1,1942, would be subject to revision where they were inadequate because of certain circumstances and that a Wage Adjustment Board would be created to determine whether *381any wage adjustment should be made and to fix the amount thereof. Thereafter, on May 29, 1942, at the request of the President, the Secretary of Labor issued Administrative Order No. 101, by which he established the Wage Adjustment Board in the Department of Labor and authorized it to investigate and recommend an adjustment of wage rates under the agreement.
On January 12,1942, the President issued Executive Order No. 9017 (7 F. R. 237), by which he created in the Office for Emergency Management, a National War Labor Board in order to provide a means for the peaceful adjustment of labor disputes which occurred during the war. On October 3, 1942, Executive Order No. 9250 (7 F. R. 7871), which provided for the stabilizing of the national economy, was issued. This order constituted the National War Labor Board as the agency of the Federal Government which was authorized to carry out the wage policies stated therein and provided that no increase or decrease in wage rates would be authorized except upon approval of the Board.
Title III, Section 3 of Executive Order 9250, provided that the National War Labor Board should permit the Wage Adjustment Board for the Building Construction Industry to continue to perform its functions except where inconsistent with other provisions of the Order. In accordance with this provision, the National War Labor Board issued its General Order No. 13 on October 13, 1943, whereby it delegated its jurisdiction over labor disputes involving mechanics and laborers in the building and construction industry to the Wage Adjustment Board. General Order No. 13 further authorized the Wage Adjustment Board to approve applications for revision of wage rates subject to the Wage Stabilization Agreement of May 22,1942, and expressly provided that “The Wage Adjustment Board shall have power * * * (1) to hear and issue directive orders, in labor dispute cases, and (2) to make final rulings on voluntary wage and salary adjustments requiring the approval of the National War Labor Board.”
6. Sometime in the early spring of 1944, Local Union No. 101 of the United Brotherhood of Carpenters and Joiners, *382Baltimore, Maryland, made application2 to the Wage Adjustment Board for the Building and Construction Industry, for an increase in the wage rates that might be paid to carpenters, millwrights, piledrivers, dockbuilders and carpenters’ apprentices on all Federal and non-Federal construction work in the Baltimore, Maryland area. Apparently the area contractors objected to the granting of the proposed increases, since the Executive Secretary of the Wage Ad justment Board conferred with the United States Conciliation Service concerning the situation. On June 2, 1944, a Commissioner of Conciliation advised the Wage Adjustment Board that on that day, Carpenter’s Local No. 101 and the Baltimore Chapter of the Associated General Contractors, had signed a collective bargaining agreement, effective August 1, 1944. On June 21,1944, the Wage Adjustment Board issued an Interim Decision (Case No. 2814 (2314)) authorizing, among other things, an increase in the carpenters’ rate from $1.37% to $1.43% to apply on all Federal and non-Federal construction work in the Baltimore, Maryland, area, effective August 1, 1944, in accordance with the bargaining agreement mentioned above.
8. On August 18,1944, plaintiff wrote to the representative of the contracting agency as follows:
In accordance with my conversation with Mr. Glass and M. H. Bauer representing Carpenter’s Local Union 101, regarding a proposed increase in the hourly wage of carpenters and their apprentices. Our contract specification requires carpenters be paid $1,375 per hour where the proposed change will be $1.43'%.
From the various conversations it is apparent that this proposed change has been under consideration for quite some time even though the date of award is July 25th. We are unable to pay any wage on this job contrary to the specified rates in our contract.
Your instructions concerning the above will be appreciated immediately.
On August 25,1944, plaintiff again wrote to the contracting agency regarding the increase in the carpenters’ wage *383rate and stated that it was making claim for additional compensation because of such increase. Plaintiff noted that the contracting agency undoubtedly had had notice of the interim decision of the Wage Adjustment Board, dated June 21, 1944, and stated that it could not understand why the agency had not advised plaintiff of the prospective increase at that time when negotiations for the price of the work were still under consideration.
On September 6,1944, defendant’s construction supervisor wrote to plaintiff advising that under the terms of paragraph 6 (d) (2) of the contract specification as amended, no claim for extra compensation could be based upon increases in wages requested by the contractor or the union. The letter, in full, was as follows:
Eeplying to your letter of August 25th, regarding the change in the wage rates of carpenters on this project, we wish to advise that we transmitted copies of your letter to the Project Engineer under date of September 1st and in his letter to us dated September 5th, he advises as follows, quote:
“Please call Eoss Engineering Company’s attention to Addenda 2, page 2, notation page 51, paragraph 6, Eates of Wages, subparagraph (d)-(2), line 3. Change the word ‘for’ to ‘or’.
“This correction by the addenda has changed the whole confusion of the paragraph on page 51, d-(2) and which Mr. Bright did not have in his mind at the time he wrote his letter. If after he reads the paragraph corrected he still has in his mind the filing of a claim, I will then be able to forward this to New York without any misunderstanding of the facts.
“This paragraph anticipates that there may be changes in the wage rates and was so put in the specifications. The responsibility for this increase, according to the paragraph, is the contractors; the interim of [sic] decision has the force of law and it is the contractor’s authority for posting the changed wage rate.
“If after this review has been made and you still desire to acquaint New York with these circumstances and desire written instructions, I shall take the matter up with them.”
Your early reply will help to expedite this matter.
*384Defendant’s representative did not intend tlie above quoted letter to be taken as an order to plaintiff to pay the increased rate, but rather as an assurance that in view of the Board’s action, plaintiff might lawfully post and pay such rate despite the lower rate included in the contract specifications.
9. On April 8,1944, the Wage Adjustment Board received an Application for Approval of Wage Bate Adjustments, requesting that plasterers in the Baltimore area be permitted to receive $1.75 per hour instead of the current rate of $1.50 per hour. The application indicated that the January 1,1941 rate for this craft had been $1.50 per hour. The application was signed on March 29,1944, by the president of the Baltimore local union, and by the president and secretary of the Employing Plasterers Association of Baltimore. The application was also signed by a vice-president of the International Union on April 6,1944, and by the secretary-treasurer of the Building and Construction Trades Department of the American Federation of Labor, on April 7, 1944. The two latter officials were in Washington, D. C.
The application indicated that the plasterers’ local union and the Associated General Contractors in Baltimore had entered into a collective bargaining agreement which accompanied the application.
On May 25, 1944, the Wage Adjustment Board issued its decision (Case No. 3189) approving the payment of $1.72% per hour 3 for plasterers employed on all Federal and non-Federal building construction in the Baltimore, Maryland area, effective October 1,1944.
10. On May 26, 1944, the Wage Adjustment Board received an application for a wage increase for lathers in the Baltimore Area, from $1.50 per hour to $1.75 per hour. The application was signed by the secretary of Local 75, Wood, Wire &amp; Metal Lathers International Union, Baltimore, and by the secretary of the Employing Plasterers Association of Baltimore. The application indicated that the adjustment was proposed under the so-called Little Steel Formula which permitted increases up to 15% of the craft’s January 1,1941 rate, and that the union and the employers’ associa*385tion had entered into a collective bargaining agreement. The application asked that the requested adjustment be made effective as of October 1,1944.
On August 16,1944, the Wage Adjustment Board issued an Interim Decision (Case 52-3649) authorizing an increase in the lathers’ rate from $1.50 to $1,721/2, to apply on all Federal and non-Federal construction work in the Baltimore, Maryland area, effective October 1, 1944. At the bottom of the decision there was a notation that copies had been sent “To Reg. Mailing List — 8/22/44—AT”., to the Employing Plasterers Association in Baltimore, and to the Local Union involved.
11. Except for the above mentioned notation appearing on the interim decision for the lathers, the record does not indicate to whom notices of the various Wage Adjustment Board proceedings were sent in each of the cases involved in this claim. It would seem reasonable to conclude, however, that notices of requests for wage adjustments, and copies of Board decisions on such requests, were sent to all persons and organizations whose names appeared on the applications and this would include the following:
(1) The local union involved in Baltimore.
(2) The employers’ association for that craft in Baltimore, if any.
(4) The Baltimore Chapter of the Associated General Contractors Association.
(5) The office of the International Union in Washington, D. C., for the particular craft.
(6) The Building Construction Trades Department of the American Federation of Labor in Washington, D.C.
It would also seem reasonable to conclude that the “Regular Mailing List” of the Wage Adjustment Board would include the various contracting agencies of the Federal Government who were engaged in contracting for building construction, and this would include the Federal Public Housing Authority.
12. At the time the contract was signed by plaintiff, none of the above wage adjustments were in effect, and the rates *386contained in the contract specifications were in fact the prevailing rates of wages in the Baltimore area.
13. Although plaintiff employed only union craftsmen on the project in question and in so doing dealt with the local unions of the various building and construction crafts in the Baltimore area, including the unions involved in the three wage adjustments discussed above, plaintiff did not make inquiry of those unions concerning the wage situation in the Baltimore area prior to preparing its bid. If plaintiff had made such inquiry, or had inquired of the Washington offices of the Building Trades Department of the American Federation of Labor or the Associated General Contractors, it would have learned of the pendency of the requests for wage adjustments for carpenters, plasterers and lathers.
14. From November 30,1944, to August 1,1946, the Wage Adjustment Board granted increases to various other crafts employed by plaintiff on this project. In some instances Directive Orders were issued to the Associated General Contractors. Plaintiff was not a member of that organization.
15. No representative of the contracting officer or of the Federal Public Housing Authority ordered plaintiff to pay the increased wage rates authorized by the Wage Adjustment Board.
16. Plaintiff would not have been able to man the job without paying the rates authorized by the Wage Adjustment Board from time to time during the course of the contract.
17. Plaintiff paid directly or through subcontractors for wages at a rate in excess of those set forth in the specifications during the life of the contract, pursuant to wage decisions, the following amounts.

Decision date Effective date Classification Amount

May 25, 1944-October 1, 1944 (Plasterers)_$7,786.42
June 21, 1944-August 1, 1944 (Carpenters)_11,103.16
August 16, 1944-October 1, 1944 (Lathers)_ 4,118.66
23,008.24
Decisions November 30,1944 to August 1,1946 — Various 36, 245.35
59,253.59
*387Plaintiff also paid insurance on these increased wages in the amount of $3,996.34, of which $776.06 was applicable to the rate increases' involved in the first three decisions.
The total increased wages paid by plaintiff prior to September 6, 1944, amounted to $60.09, with insurance of $3.87.
18. Under date of December 4,1946, the contracting officer denied plaintiff’s claim. On January 2, 1947, plaintiff appealed this decision to the head of the department, who on June 4,1947, denied the appeal.
CONCLUSION OF LAW
Upon the foregoing findings of fact, which are made a part of the judgment herein, the court concludes that as a matter of law the plaintiff is not entitled to recover, and its petition is therefore dismissed.

 Act of August SO, 1935, 49 Stat. 1011, as amended by the, Act of June 15, 1940, 54 Stat. 399.


 The exact date of this application for wage adjustment and the date on which such application was received by the Wage Adjustment Board is not shown by the record. Both dates would appear on the application form filed with the Board.


 This rate represented a 16% Increase oyer this craft’s January 1, 1941 rate.

